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To: Mr. Sam Moore

RE: Kenneth Ferguson- DOB 5/5/1986
7104 Catalonia
Jacksonville, FL 32217


Today is 3/7/2022. Mr. Kenneth Ferguson DOB 05/05/1986 was admitted to Memorial Hospital on
2/19/2022 with a serious and critical medical condition. Mr. Ferguson is still hospitalized at this time and
remains in the ICU. Mr. Ferguson‘s expected length of stay or discharge date is pending his medical
course here at the hospital and is yet to be determined by his physicians. Post hospitalization Mr.
Kenneth Ferguson will need follow up care at a physical therapy rehabilitation center.

Thank you,


Shelby Atkinson, MSW
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Jacksonville, FL 32216
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